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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA,

v.                                                  Case No. 3:23-cr-95-MCR-HTC

KEDARREL Z. HICKS

__________________________/

                              ORDER OF DETENTION

          On December 18, 2023 the Court held a hearing on the government’s oral

motion for detention pursuant to the Bail Reform Act of 1984, as amended, 18 U.S.C.

§ 3141, et seq. Based upon the information contained in the pretrial services report,

the evidence presented at the hearing, and the arguments of counsel, the Court finds

Defendant shall be detained pending trial because there are no conditions or

combination of conditions which will reasonably assure Defendant will not be a risk

of flight or a danger to the safety of the community if released.

     I.      The Bail Reform Act

          The Bail Reform Act of 1984 provides a framework for determining whether

pretrial detention is appropriate. See 18 U.S.C. § 3142. Under the Act, a court must

order a defendant be detained if, after hearing, it finds that “no condition or

combination of conditions will reasonably assure [the defendant’s] appearance …

and the safety of any other person in the community.” 18 U.S.C. § 3142(e)(1);
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United States v. King, 849 F.2d 485, 488 (11th Cir. 1988). A finding of risk of flight

must be supported by a preponderance of the evidence, while a finding of danger

must be supported by clear and convincing evidence.            See United States v.

Quartermaine, 913 F.2d 910, 917 (11th Cir. 1990).

       “Clear and convincing evidence” entails more than a preponderance of the

evidence, but less than evidence establishing a fact beyond a reasonable doubt.

Addington v. Texas, 441 U.S. 418, 423-25 (1979); Colorado v. New Mexico, 467

U.S. 310, 316 (1984) (clear and convincing evidence is evidence which induces “an

abiding conviction that the truth of its factual contentions are ‘highly probable’”).

“To find danger to the community under this standard of proof requires that the

evidence support such a conclusion with a high degree of certainty.” Chimurenga,

760 F.2d at 405. Additionally, “danger to the community” does not refer to simply

risk of physical violence; instead, it includes a danger that the defendant might

engage in criminal activity that is a detriment to the community. See United States

v. Ingram, 415 F. Supp. 3d 1072, 1077 (N.D. Fla. 2019) (collecting cases). Danger

to the community, thus, includes “the harm to society caused by narcotic

trafficking.” Id.

       Although the burden of proof generally falls on the government, when

probable cause is established in certain cases, a rebuttable presumption of detention

arises that no such conditions exist. 18 U.S.C. § 3142(e)(3). Those cases are

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identified in 3142(e)(3) and include an offense “for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled Substances Act.”

Id. In a rebuttable presumption case, the defendant bears the burden of production

– that is the burden of producing evidence to rebut the presumption. See e.g., United

States v. Abad, 350 F.3d 793, 797 (8th Cir. 2003) (quoting United States v. Mercedes,

254 F.3d 433, 436 (2d Cir. 2001)); United States v. Dominguez, 783 F.2d 702, 707

(7th Cir. 1986). While the burden is not a heavy one, even if it is met, the

presumption nonetheless remains a factor for the court to consider. See United States

v. Stricklin, 932 F.2d 1354, 1355 (10th Cir. 1991). Also, even in a rebuttable

presumption case the burden of persuasion remains with the government. See id. at

1354-55; Mercedes, 254 F. 3d at 436.

       This is a rebuttable presumption case because Defendant is charged with two

felony drug offenses, each of which carry a minimum term of imprisonment of more

than 10 years up to life imprisonment. “The rebuttable presumption in 18 U.S.C.

§ 3142(e) exists to advance Congress’s belief that those charged with serious drug

crimes are necessarily a danger to the community and should be detained to protect

the public, absent a showing by the defendant that he is not a danger to the

community.” United States v. Kidd, 2013 WL 142317, at *3 (N.D. Ga. Jan. 11,

2013).




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         To determine whether a defendant should be released on conditions or

detained, courts consider the following factors: (1) the nature and circumstances of

the offense charged, including whether the offense is a crime of violence; (2) the

weight of the evidence against the person; (3) the history and characteristics of the

person; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by the person’s release.” 18 U.S.C. § 3142(g).

Although § 3142(g) identifies the factors the courts should consider, it says nothing

about the relative weight a court should give them when deciding whether to release

or detain a defendant. See generally 18 U.S.C. § 3142(g). Instead, the weight given

to each factor will inevitably vary from case to case and might even vary depending

on whether the inquiry relates to a defendant’s danger or to his risk of flight. United

States v. Zhang, 55 F.4th 141, 150 (2d Cir. 2022). The judicial officer is given

“substantial latitude in determining whether pretrial detention is appropriate.” King,

849 F.2d at 487.

   II.      Analysis

         Considering the § 3142(g) factors, and for the reasons discussed below, the

Court finds there are no conditions or combination of conditions that could be

imposed which would reasonably assure the Court Defendant will not be a danger

to the community or a risk of nonappearance.

            A. Nature and Circumstances of the Offense Charged.

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       When considering the nature and circumstances of the offense, the court

considers “whether the offense is a crime of violence, a violation of section 1591, a

Federal crime of terrorism, or involves a minor victim or a controlled substance,

firearm, explosive, or destructive device.” 18 U.S.C. § 3142(g)(1).

       Here, Defendant has been indicted by the grand jury of the following felony

offenses: Count 1 charges Defendant with conspiracy to distribute and possession

with intent to distribute 400 grams or more of fentanyl and carries a penalty that

includes a minimum mandatory term of 10 years’ incarceration to a maximum term

of life. Count 3 charges Defendant with possession with intent to distribute 400

grams or more of fentanyl and carries the same penalties and fines as Count 1. 1 It is

an understatement to say the amount of drugs at issue is significant.

       Based on the amount of the drugs at issue, the type of drug at issue, and the

almost one year time over which the conspiracy is alleged to have occurred, the

Court finds the nature of the offense weighs in favor of detention. The possession,

use, and distribution of illegal drugs represent “one of the greatest problems

affecting the health and welfare of our population.” Treasury Employees v. Von

Raab, 489 U.S. 656, 668 (1989). Drug distribution causes “grave harm to society.”

Harmelin v. Michigan, 501 U.S. 957, 1002 (1991) (Kennedy, J., concurring in part).



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  Defendant is also charged with conspiracy to use a communication facility in the furtherance of
a felony (count 4).
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A “seller of addictive drugs may inflict greater bodily harm upon members of society

than the person who commits a single assault.” Rummel v. Estelle, 445 U.S. 263,

296 n.12 (1980) (Powell, J., dissenting).

       Notably, according to the Centers for Disease Control and Prevention,

fentanyl is up to 50 times stronger than heroin and 100 times stronger than

morphine. https://www.cdc.gov/stopoverdose/fentanyl/index.html; United States

v. Brown, 538 F. Supp. 3d 154, 170 (D.C. 2021) (Lamberth, J.) (“Fentanyl, a

synthetic opioid, is 50 to 100 times more potent than morphine and 50 times more

potent than heroin ... Given that those who use fentanyl ... risk serious bodily

injury or death, the danger posed to the [community] by [the defendant's] pre-trial

release would be great.” (internal quotations omitted)). It is a major contributor to

fatal and nonfatal overdoses in the United States.

https://www.cdc.gov/stopoverdose/fentanyl/index.html. The Court finds the nature

and circumstances of the offenses charged weigh in favor of detention.

          B. Weight of the Evidence.

       This factor requires the district court to consider evidence proffered by the

government which it intends to use at Defendant’s trial. In considering the weight

of the evidence, the court considers both the weight of the evidence of dangerousness

and the government’s underlying case against the defendant. United States v.

Berkun, 392 F. App’x 901, 903 (2d Cir. 2010); United States v. Norris, 188 F. App’x

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822, 830 (11th Cir. 2006). “While it is true that the Court’s determination of this

factor ‘neither requires nor permits a pretrial determination of guilt,’ the Court can

still weigh the evidence and determine whether it proves that the defendant poses a

risk to others and/or is at risk of flight.” United States v. Slatten, 286 F. Supp. 3d

61, 67–68 (D.D.C. 2017) (internal citations omitted), aff'd, 712 F. App'x 15 (D.C.

Cir. 2018); United States v. Pirk, 220 F. Supp. 3d 402, 410 (W.D.N.Y. 2016).

       The weight of the evidence is a common-sense consideration. For instance, if

the evidence against a defendant is overwhelming, credible, helpful, and important

to the government’s case in chief, that may increase the risk defendant will flee to

avoid future court proceedings and may indicate the defendant is a present danger to

himself or the community if the government’s allegations later prove to be true.

Alternatively, if the only evidence against a defendant is circumstantial,

contradicted, or unreliable, the defendant has less reason to duck court proceedings

in the interest of proving his innocence and that evidence does not support viewing

the defendant as a risk to the safety of the community. As such, the weight of the

evidence against Defendant will be weighed as all factors are—in accordance with

the specific facts of this case—to determine whether pretrial detention is appropriate.

United States v. Blackson, 2023 WL 1778194, at *10 (D.D.C. Feb. 6, 2023).

       At the detention hearing, the government proffered that law enforcement

began an investigation into suspected drug activities of co-defendant, L.

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Chamberlain, in December 2022. Their investigation led them to Defendant, who

law enforcement believes to be Chamberlain’s right-hand man and distributor. The

government admitted two exhibits, both of which are transcripts of recorded

conversations between Chamberlain and Defendant. One call, which occurred on

October 3, 2023, was interpreted by law enforcement as involving a discussion

between the two men about how much people are enjoying the fentanyl that is being

distributed. Gov’t Exh. 1.

       The other call, which occurred on October 25, 2023, just prior to a search

warrant being executed on residences, was interpreted by law enforcement as

involving a discussion between the two men about a potential search by law

enforcement and the need to hide the drugs elsewhere. Gov’t Exh. 2. According to

law enforcement’s interpretation, Defendant told Chamberlain during the call that

Defendant’s drugs were located “in the garage on top”, “in that football helmet in

that crown royal bag.” Id. Those comments are significant because when the search

warrant was executed, law enforcement found over 600 grams of fentanyl in a crown

royal bag located inside a cooler in the woods – a cooler that law enforcement

believes Chamberlain told his girlfriend, co-defendant C. Wilson, to purchase for the

purpose of hiding the drugs. 200 additional grams of fentanyl were located inside

the cooler.




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       The Court finds the evidence presented by the government weighs in favor of

detention. The transcripts of the two calls shows the charges here are more than an

“aberration or momentary lapse in judgment”; the calls show Defendant was “a

fentanyl distributor with a long-term, [potentially] lethal operation.” See United

States v. Coley, 2023 WL 3271146, at * 4 (M.D. Ala. May 5, 2023) (affirming

detention decision).

          C. The History and Characteristics of the Defendant.

       In considering the history and characteristics of a defendant, the court

considers such matters as the person’s character, physical and mental condition,

family ties, employment, financial resources, length of residence in the community,

community ties, past conduct, history relating to drug or alcohol abuse, criminal

history, and record concerning appearance at court proceedings.           18 U.S.C.

§ 3142(g).

       Defendant is 34 years old and has lived in Ft. Walton Beach his entire life.

Currently, he lives with his grandmother, who is in her 90s. He is employed with

his cousin’s lawn care business, and is paid in cash. He also works part-time at Ruby

Tuesday’s, where he works about 16 hours a week and makes approximately $500 a

month, net of taxes. He is engaged, but has no children. Defendant has used

marijuana since the age of 14, and currently has a medical marijuana card.

Defendant also contends that if released he would like to go back to barber school,

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something he started more than a decade ago. He also plans to return to living with

his grandmother, but admitted during the hearing his grandmother does not keep up

with his whereabouts and does not know of his drug activities. Moreover, the

government proffered Defendant was arrested on the indictment at his

grandmother’s residence, where he was sitting in a car with other known drug

dealers.

       Defendant’s criminal history is relatively minimal and appears to have started

just a few years ago. In September 2020, Defendant pled no contest to possession

of a controlled substance (2 Lortab tablets and marijuana) and paraphernalia (a scale)

and although he was sentenced to 11 months and 29 days of probation, he violated

the probation by engaging in a new law violation in February 2021 and testing

positive for a controlled substance in August 2021. These violations resulted in a

termination and revocation of probation and a sentence of time served. The “new

law violation” were four charges for conspiracy to tamper with a witness, victim or

information in a prosecution involving a life or capital felony. According to a motion

to dismiss filed by Defendant’s counsel in the state court, those charges stem from a

recorded prison telephone call between an inmate and female caller, during which

law enforcement believed the inmate was telling the female caller to give Defendant

instructions to coerce or mislead potential witnesses about an active homicide

investigation.

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       Specifically, T. Gainer was charged with a homicide. During a recorded

prison call, T. Gainer directed a third party, V. Battle, to contact Defendant and tell

him to “lace up the boots” of two female witnesses who had information regarding

the murder. Defendant told officers during a post-Miranda interview that he never

spoke to V. Battle and did not know what “lacing the boots up meant.” Defendant’s

Exh. 1. Defendant, however, admitted to telling Gainer he would “help out a friend.”

Id. The State nolle prossed those charges in October 2021.

       Certainly, the Court recognizes Defendant’s criminal history is not as serious

or significant as ones the Court generally sees in these types of cases. The Court

also recognizes none of the convictions involved violent crimes per se. The Court

presumes that for that reason, the US Probation Office recommended release.

       However, it cannot be disputed drug dealing is “a violence-prone business.”

United States v. Lane, 252 F.3d 905, 907 (7th Cir. 2001); see United States v. Caro,

597 F.3d 608, 624 (4th Cir. 2010) (“[I]llegal drugs have long and justifiably been

associated with violence.”); United States v. Diaz, 864 F.2d 544, 549 (7th Cir. 1988)

(noting “the illegal drug industry is, to put it mildly, a dangerous, violent business”).

“[A]n indictment for a drug trafficking offense is strong evidence that the defendant

is a risk to the community.” United States v. Allen, 891 F. Supp. 594, 599 (S.D. Fla.

1995). Indeed, studies “demonstrate a direct nexus between illegal drugs and crimes

of violence.” Harmelin, 501 U.S. at 1003, 111 (Kennedy, J., concurring). Notably,

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while Defendant was not prosecuted on the witness tampering charges, by his own

admission he was friends with the person charged with the murder and agreed to

help him out. The government also proffered the homicide was related to drug

activity. Moreover, the conspiracy is alleged to have started in December 2022, and

ran for almost a year. “This evidentiary history of actual criminal conduct heightens

risk, even when the documented history is clean.” Coley, 2023 WL 3271146, at * 4.

          D. The Nature and Seriousness of the Danger Posed by Release.

       The Court finds there is a serious danger that, if released, Defendant will

return to drug trafficking to support himself, given his minimal reportable income.

See United States v. Martin, 2017 WL 4080689, at *3 (S.D. Ga. Sept. 14, 2017)

(“Congress has recognized that those in the drug ‘business’—entrepreneurs like this

defendant—‘pose a significant risk of pretrial recidivism.’”). The risk a defendant

will continue to engage in drug trafficking constitutes a danger to the safety of the

community. King, 849 F.2d at 487, n.2.

       In determining whether detention is necessary, a court “makes a judgment

about the persuasiveness of the evidence offered by each party[.]” United States v.

Clum, 492 F. App'x 81, 85 (11th Cir. 2012) (citation omitted). While Defendant

argues there are conditions which can be imposed, such as GPS monitoring and

home detention or incarceration, “there is virtually nothing that any person could do

to prevent Defendant from engaging in drug trafficking if that is what []he set [his]

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mind to doing. It is not only possible for Defendant to continue to engage in the

continued sale of narcotics from [his] home, it also is very probable.” United States

v. Carter, 2015 WL 541554, at *4 (M.D. Ga. Feb. 10, 2015); see also United States

v. Williams, 2016 WL 2770883, at *3 (S.D. Ala. May 13, 2016) (“While defense

counsel argued that electronic monitoring would adequately address the danger

issue, the undersigned finds that such would not prevent Defendant’s involvement

with criminal activity if he were so inclined.”). That probability is even higher here,

where, as stated above, Defendant resides with his elderly grandmother and has been

seen there with other known drug dealers. Moreover, as the government pointed out,

Defendant lived with his grandmother during the entire period alleged in the

conspiracy.

       GPS monitoring would also not keep Defendant from fleeing to another

district. Motivated persons are certainly known to cut off their monitors. See United

States v. Benevolence Int'l Found., Inc., 222 F. Supp. 2d 1005, 1007, (N.D. Ill. 2002)

(noting that neither electronic monitoring nor the GPS system of surveillance defeats

the resolute, resourceful, energetic, and non-compliant releasee). And given the

mandatory 10 year sentences Defendant is facing, combined with the amount of

drugs being attributed to him, Defendant has a strong motive to flee. United States

v. Iverson, 2014 WL 5819815, at *4 (W.D.N.Y. Nov. 10, 2014) (Arcara, J.) (“When

evidence of a defendant’s guilt is strong, and when the sentence of imprisonment

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upon conviction is likely to be long ... a defendant has stronger motives to flee.”)

(internal citation omitted); see e.g., United States v. Bruno, 89 F. Supp. 3d 425, 431

(E.D.N.Y. 2015); United States v. English, 629 F.3d 311, 321-22 (2d Cir. 2011)

(affirming detention in part because the defendant faced a presumption against

release and a mandatory sentence that incentivized fleeing); United States v. Dodge,

846 F. Supp. 181, 184-85 (D. Conn. 1994) (possibility of a “severe sentence”

heightens the risk of flight).

       “While fentanyl itself poses an extreme danger and is an important

consideration, cases may arise where detention is not warranted on fentanyl-related

charges subject to the presumption when considering the specific circumstances of

the alleged offense, the defendant, and the evidence.” Coley, 2023 WL 3271146, at

*5. This, however, is not one of those cases. The Court cannot ignore the evidence

proffered by the government regarding the amount of fentanyl that was found in the

Crown Royal bag, attributable to Defendant, or the call between Defendant and

Chamberlain callously enjoying the fact their product was in high demand on the

streets. Thus, based on the evidence proffered by the government, the Court finds

Defendant has not overcome the presumption that no condition or combination of

conditions will reasonably assure Defendant will not be a risk of non-appearance or

pose a danger to the community.




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       Accordingly, the Court ORDERS that Defendant be held in the custody of

the Attorney General or his designated representative pending trial in this matter.

The Attorney General or his designated representative shall, to the extent

practicable, confine Defendant separate from persons awaiting or serving sentences

or being held in custody pending appeal. Defendant shall be afforded a reasonable

opportunity to consult with counsel in private while in custody. On order of a court

of the United States or on request of an attorney for the government, the person in

charge of the corrections facility shall deliver the Defendant to the United States

Marshal for the purpose of an appearance in connection with a court proceeding.

       DONE AND ORDERED this 19th day of December, 2023.

                                   /s/ Hope Thai Cannon
                                         HOPE THAI CANNON
                                  UNITED STATES MAGISTRATE JUDGE




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